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                       THE UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
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       KATRINA HARRIS, et al.             ) Case No.: 5:19-cv-02184-JGB-SPx
 11                                       )
 12                      Plaintiffs,      ) JUDGMENT IN FAVOR OF
              vs.                         ) PLAINTIFF RYLEE FERGUSON
 13                                       )
 14    68-444 PEREZ, INC. dba             )
       SHOWGIRLS, a California            )
 15    corporation; ABDUL WAHAB           )
 16    SHAWKAT, an individual; DOE        )
       MANAGERS 1-3; and DOES 4-          )
 17    100, inclusive,                    )
 18                                       )
                       Defendants.        )
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                      JUDGMENT IN FAVOR OF PLAINTIFF RYLEE FERGUSON

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   1         On September 17, 2021, defendants 68-444 Perez, Inc. and Abdul Wahab
   2   Shawkat (collectively, “Defendants”) served plaintiff Rylee Ferguson (“Plaintiff”
   3   or “Ferguson”) with a Fed. R. Civ. P. 68 Offer of Judgment in this action in the
   4   amount of ONE HUNDRED TWENTY-FIVE THOUSAND U.S. DOLLARS
   5   ($125,000), inclusive of costs and attorneys’ fees. On September 17, 202, Plaintiff
   6   accepted the offer. See Dkt. 99.
   7         In accordance with the Offer of Judgment and Notice of Acceptance,
   8   Plaintiff shall have and recover from Defendants, jointly and severally, the total
   9   sum of of ONE HUNDRED TWENTY-FIVE THOUSAND U.S. DOLLARS
 10    ($125,000), inclusive of costs and attorneys’ fees.
 11          Accordingly, it is ORDERED AND ADJUDGED that a Final Judgment is
 12    entered for Plaintiff and against Defendants for the total sum of of ONE
 13    HUNDRED TWENTY-FIVE THOUSAND U.S. DOLLARS ($125,000),
 14    inclusive of costs and attorneys’ fees, with interest at the legal rate of ten percent
 15    (10%) per annum from the seven days after the date of the entry of this Judgment.
 16    Each party shall bear their own costs and fees.
 17          IT IS SO ORDERED.
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 20     Dated: December 13, 2021
                                                   HONORABLE JESUS G. BERNAL
 21                                               UNITED STATES DISTRICT JUDGE
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                        JUDGMENT IN FAVOR OF PLAINTIFF RYLEE FERGUSON

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